                      Case 24-50065-KBO              Doc 1        Filed 05/09/24       Page 1 of 48




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                              Chapter 11

    JAMBYS, INC., ET AL.,                                              Case No. 24-10913 (KBO)

                                 Debtors. 1                            Jointly Administered



    JAMBYS, INC.,                                                      Chapter 11

                                Plaintiff,                             Adv. Pro. No. 24-_______ (KBO)

    v.

    VELOCITY CAPITAL GROUP LLC, UNITED
    FIRST, LLC, GLOBAL FUNDING EXPERTS,
    LLC, MCA SERVICING COMPANY,
    CLOUDFUND LLC, DELTA BRIDGE
    FUNDING, LLC, MAX RECOVERY GROUP
    LLC, SIMMONS CAPITAL PARTNERS,
    NEWCO CAPITAL GROUPS VI LLC, and
    SELLERSFUNDING CORP. d/b/a SELLERSFI,

                                Defendants.



                          VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF

             Jambys, Inc. and Jambys NYC, Inc. (collectively, “Jambys” or the “Debtors”), 2 as the

debtors and debtors in possession in the above-captioned bankruptcy cases and plaintiffs in this




1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number are
         as follows: Jambys, Inc. (4264) and Jambys NYC, Inc. (5373). The Debtors’ mailing address is 228 Park Avenue
         South, PMB 49630, New York, NY 10003.
2
         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
         Declaration of John Ambrose in Support of First Day Relief [In re Jambys, Inc., No. 24-10913-KBO (Bankr. D.
         Del.) D.I. 8] (the “First Day Declaration”).

                                                              1
               Case 24-50065-KBO          Doc 1       Filed 05/09/24   Page 2 of 48




adversary proceeding, allege for their Verified Complaint (“Complaint”), upon knowledge of their

own acts and upon information and belief as to other matters, as follows:

                NATURE OF THE ACTION AND THE NEED FOR RELIEF

       1.      This is an adversary proceeding brought pursuant to Rules 7001(1), 7002(2),

7001(7), 7001(9), and 7065 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and sections 105(a) and 362 of title 11 of the United States Bankruptcy Code (the

“Bankruptcy Code”). By this adversary proceeding, Jambys seeks to extend the automatic stay to

enjoin the prosecution of the Loan Actions (defined below) against the corporate owners, directors

and officers of Jambys, John Tate Ambrose and Andrew Lee Goble (the “Jambys Officers”),

including the enforcement of any personal guarantees and liens against the Jambys Officers.

       2.      Specifically, the Jambys Officers are required to respond to a complaint filed by

Velocity (defined below), a predatory lender, by Monday, May 13, 2024. The Jambys Officers

cannot respond to the complaint because any response will require the Debtors’ participation.

Without an injunction extending the automatic stay to include the Jambys Officers, Velocity will

likely pursue a default judgment. For the reasons explained herein and in the accompanying

Memorandum of Law in Support of the Debtors’ Emergency Motion for an Order (I) Declaring

that the Automatic Stay Applies to Certain Actions Against Non-Debtors, (II) Preliminarily

Enjoining Such Actions, and (III) Granting a Temporary Restraining Order Pending a Final

Hearing (the “Stay Extension Brief”), the Debtors will need to participate in any action arising out

of personal guarantees of the Jambys Officers and will suffer irreparable harm if they are forced

to expend their limited resources and attention to the Velocity matter. Emergent injunctive relief

is therefore necessary to protect the Debtors and their restructuring efforts.




                                                  2
               Case 24-50065-KBO          Doc 1       Filed 05/09/24    Page 3 of 48




       3.      Jambys further seeks to have various MCA Agreements (defined below) declared

void on the grounds that they are usurious and unconscionable in that they are loans disguised as

purchase agreements with interest rates far exceeding the New York criminal maximum of 25%.

Jambys is therefore entitled to a declaration that the MCA Agreements are void and unenforceable,

and the return of all the principal, fees, and interest that Jambys paid on these loans. Alternatively,

any amounts paid by Debtors under the Loan Agreements two years prior to the Petition Date, as

well as ninety (90) days prior to the Petition Date must be returned to the Debtors’ estate as

avoidable transfers pursuant sections 547(b), 548(a)(1)(B) and 550 of the Bankruptcy Code.

       4.      Between January and November 2023, Jambys purportedly entered into multiple

agreements pursuant to which funding companies supposedly agreed to purchase revenue from

Jambys, in exchange for a specified amount to be paid by Jambys to those funders over time (the

“MCA Agreements”).

       5.      Under the MCA Agreements, Jambys is obligated to pay the funders a specified

amount on a daily basis up to a final number, amounting to tens of thousands of dollars more than

the original amount funded.

       6.      On or about January 17, 2024, Jambys also entered into a loan agreement (the

“SellersFi Agreement”, and collectively with the MCA Agreements, the “Loan Agreements”) with

Defendant SellersFunding Corp. (“SellersFi”).

       7.      The Jambys Officers personally guaranteed Jambys’s obligations under the Loan

Agreements.

       8.      In addition, Jambys’s corporate bylaws and articles of incorporation require Jambys

to indemnify the Jambys Officers to the extent they incur any liability “actually and reasonably

incurred in connection with any proceeding” arising out of their capacities as directors, officers,



                                                  3
               Case 24-50065-KBO         Doc 1       Filed 05/09/24   Page 4 of 48




or agents of Jambys. Attached as Exhibits A and B hereto are true and correct copies of the

Certification of Incorporation and Corporate Bylaws of Jambys, Inc., respectively. See Ex. A, Art.

VI; Ex. B § 6.1.

       9.      Although the MCA Agreements are titled as “revenue purchase agreements” or

“future receipts sale and purchase agreements,” many of them are loans claiming to be purchase

agreements to avoid being subject to New York’s criminal usury statute.

       10.     With the exception of SellersFi, each of the Defendants herein are funders, brokers,

and/or servicing agents of the MCA Agreements (all Defendants other than SellersFi, collectively,

the “MCA Lenders”). They have either sued Jambys and the Jambys Officers for amounts

allegedly due and owing under the MCA Agreements, have had liens issued against Jambys, and/or

threatened suit or other coercive actions to collect amounts allegedly due by Jambys under the

MCA Agreements (the “MCA Actions”, and collectively with any efforts to enforce the SellersFi

Agreement, the “Loan Actions”).

       11.     New York courts, however, have held that cash advances such are these are nothing

more than loans that violate New York’s criminal usury statute as well as the Racketeer Influenced

and Corruption Organization Act. See, e.g., Crystal Springs Cap., Inc. v. Big Thicket Coin, LKC,

220 A.D.3d 745, 747 (2d Dep’t 2023); Fleetwood Servs., LLC v. Richmond Cap. Grp. LLC, 2023

WL 3882697 (2d Cir. June 8, 2023).

       12.     Indeed, the Attorney General for the State of New York recently filed suit against

many revenue funders (including some of the MCA Lenders subject to this Complaint), alleging

that they are guilty of criminal usury and fraud, and seeking, among other things, rescission of the

agreements and restitution and damages to paid to all merchants. See People v. Yellowstone Cap.

LLC, Index No. 450750/2024, Doc. No. 1 (N.Y. Sup. Ct. New York Cnty. March 5, 2024) (the



                                                 4
                Case 24-50065-KBO            Doc 1       Filed 05/09/24    Page 5 of 48




“NYAG Complaint”). 3 The MCA Agreements here are similar, and thus, the Court should deem

the MCA Agreements, including the guarantees, unconscionable and void.

        13.     In addition to an order declaring the MCA Agreements void, Jambys also seeks a

temporary restraining order and preliminary injunction against all of the Loan Actions to avoid

irreparable harm to its estate and the prospect of a successful reorganization that would occur if

the Loan Actions were allowed to continue unabated. The theories of liability asserted against the

Jambys Officers are the same as the theories asserted against Jambys because the Jambys Officers

are sued as alleged guarantors of the Loan Agreements. Because Jambys shares an identity of

interest with the Jambys Officers and has an obligation to indemnify them for the guarantees they

provided for the Debtors’ financing, a uniform stay of all Loan Actions is necessary to avoid

irreparable harm to Jambys’s restructuring efforts.

        14.     Absent a stay, Jambys’s restructuring efforts will be hindered by its necessary

involvement in the Loan Actions, the threat of collateral estoppel or evidentiary prejudice, and the

depletion of estate assets. Jambys would be required to participate in discovery, devote time

preparing for and participating in depositions, and help analyze and develop the Jambys Officers’

legal defenses to protect Jambys’s interests.

        15.     Moreover, if the Loan Actions are not stayed, Jambys risks significant prejudice

arising from contractual indemnification provisions providing that Jambys and the Jambys Officers

must indemnify the funders of the MCA Agreements for any legal fees and expenses they incur as

a result of monies owed to them by Jambys. And of course, Jambys risks potential collateral

estoppel and evidentiary prejudice based on any factual or legal findings made against the Jambys

Officers. Avoiding such harms will require Jambys’s direct and substantial involvement in the


3
 A copy of the NYAG Complaint is available on the New York Attorney General website:
https://ag.ny.gov/sites/default/files/2024-03/nyag-v-yellowstone-et-al.pdf

                                                     5
               Case 24-50065-KBO          Doc 1       Filed 05/09/24   Page 6 of 48




litigation, drain Jambys’s resources, prejudice other stakeholders, and divert time and attention

away from maximizing value for the benefit of all stakeholders through implementing a strategic

chapter 11 transaction.

       16.     Defendants will not be materially prejudiced by an order staying or enjoining the

Loan Actions. Defendants face no imminent risk of harm or loss that would arise from the Loan

Actions being stayed against the Jambys Officers. This is especially true in light of the significant

likelihood that Jambys will be successful in demonstrating that the MCA Agreements are

unconscionable and void as they are usurious loan agreements prohibited by New York law.

       17.     The equities and the interests of justice weigh in favor of staying the Loan Actions,

and the Court should grant the requested injunctive relief.

                                 JURISDICTION AND VENUE

       18.     This adversary proceeding arises in and relates to Jambys’s cases pending before

this Court under chapter 11 of the Bankruptcy Code.

       19.     The Court has jurisdiction to consider this adversary proceeding pursuant to 28

U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012. The Court has subject matter

jurisdiction over the claims against the Jambys Officers pursuant to 28 U.S.C. §§ 157 and 1334.

Related-to jurisdiction exists over the claims against the non-debtor Jambys Officers because (1)

Jambys and the Jambys Officers share an identity of interest, based upon their shared and common

purpose and Jambys’ lead role in defending and resolving the MCA Actions, such that the claims

against the Jambys Officers are, in effect, claims against Jambys’s estate; (2) the claims against

the Jambys Officers raise factual and legal questions that are substantially identical to, and

inextricably intertwined with, those raised by the claims against Jambys; and (3) continued



                                                  6
                 Case 24-50065-KBO        Doc 1       Filed 05/09/24   Page 7 of 48




prosecution of claims against the Jambys Officers will have an adverse impact on Jambys’s ability

to reorganize.

       20.       This is a core proceeding under 28 U.S.C. § 157(b), and Jambys confirms its

consent, pursuant to Local Rule 9013-1(f), to the entry of a final order or judgment by the Court

in connection with this adversary proceeding if it is determined that the Court, absent the consent

of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

III of the United States Constitution.

       21.       Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         THE PARTIES

       22.       Jambys is a Delaware corporation operating out of New York that sells loungewear

and sleepwear through its own ecommerce site (Jambys.com), certain online retailers, and select

wholesale partners. Jambys’s mission is to make comfortable apparel from premium fabrics to

help consumers maximize their relaxation at home.

       23.       Upon information and belief, Velocity Capital Group (“Velocity”) is a New York

limited liability company, with an office in Cedarhurst, New York. By agreement dated August 9,

2023 (the “Velocity Agreement”), Velocity agreed to provide Jambys with $95,000.00 in funding

in exchange for payments amounting to at least $134,900.00, resulting in an annualized interest

rate of at least 81.91%. Attached as Exhibit C hereto is a true and correct copy of the Velocity

Agreement. The Velocity Agreement is governed by New York law. See Ex. C § 4.5.

       24.       Upon information and belief, United First, LLC (“United First”) is a New York

limited liability company, with an office in Miami, Florida. By agreement dated August 24, 2023

(the “United First Agreement”), United First agreed to provide Jambys with $362,000.00 in

funding in exchange for payments amounting to at least $507,043.00, resulting in an annualized



                                                  7
              Case 24-50065-KBO         Doc 1       Filed 05/09/24   Page 8 of 48




interest rate of at least 55.11%. Attached as Exhibit D hereto is a true and correct copy of the

United First Agreement. The United First Agreement is governed by New York law. See Ex. D §

21.

       25.     Upon information and belief, Global Funding Experts, LLC (“GFE”) is a New York

limited liability company, with an office in Queens, New York. GFE is the servicing agent for the

United First Agreement.

       26.     Upon information and belief, CloudFund LLC (“CloudFund”) is a New York

limited liability company, with an office located in Suffern, New York. CloudFund agreed to

provide funding to Jambys on at least three separate occasions.

               a.     By agreement dated January 1, 2023 (the “January CloudFund

Agreement”), CloudFund agreed to provide Jambys with $150,000.00 in funding in exchange for

payments amounting to at least $224,850.00, resulting in an annualized interest rate of at least

89.96%. Attached as Exhibit E hereto is a true and correct copy of the January CloudFund

Agreement.

               b.     By agreement dated July 6, 2023 (the “July CloudFund Agreement”),

CloudFund agreed to provide Jambys with $260,000.00 in funding in exchange for payments

amounting to at least $363,740.00, resulting in an annualized interest rate of at least 62.64%.

Attached as Exhibit F hereto is a true and correct copy of the July CloudFund Agreement.

               c.     By agreement dated November 20, 2023 (the “November CloudFund

Agreement”, and collectively with the January CloudFund Agreement and July CloudFund

Agreement, the “CloudFund Agreements”), CloudFund agreed to provide Jambys $345,600.00 in

funding in exchange for payments amounting to at least $500,400.00, resulting in an annualized




                                                8
              Case 24-50065-KBO         Doc 1       Filed 05/09/24   Page 9 of 48




interest rate of at least 74.34%. Attached as Exhibit G hereto is a true and correct copy of the

November CloudFund Agreement.

              d.      The CloudFund Agreements are governed by New York law. See Exs. E,

F, G § 38.

        27.   Delta Bridge Funding, LLC (“Delta Bridge”), is the current servicing agent for the

CloudFund Agreement, and upon information and belief, is the same entity as CloudFund. Upon

information and belief, CloudFund is simply a “brand name”, “platform”, or shell affiliate for

Delta Bridge’s MCAs, created for the purpose of being named in the contracts for Delta Bridge’s

MCAs.

        28.   Upon information and belief, Max Recovery Group LLC (“Max Recovery Group”)

is a New York limited liability company and is owned by the same owner(s) as Delta Bridge and

CloudFund. Max Recovery Group was the servicing agent for the CloudFund Agreement until or

about March 19, 2024.

        29.   Upon information and belief, MCA Servicing Company (“MCA Servicing”) is a

New York limited liability company, with an office in Pomona, New York. MCA Servicing agreed

to provide Jambys with funding on at least two separate occasions.

              a.      By agreement dated August 24, 2023 (the “August MCA Servicing

Agreement”), MCA Servicing agreed to provide Jambys $125,000.00 in funding in exchange for

payments amounting to at least $181,250.00, resulting in an annualized interest rate of at least

112.98%. Attached as Exhibit H hereto is a true and correct copy of the August MCA Servicing

Agreement.

              b.      By agreement dated October 5, 2023 (the “October MCA Servicing

Agreement”, and collectively with the August MCA Servicing Agreement, the “MCA Servicing



                                                9
               Case 24-50065-KBO       Doc 1     Filed 05/09/24    Page 10 of 48




Agreements”), MCA Servicing agreed to provide Jambys another $70,000.00 in funding in

exchange for payments amounting to at least $104,300.00, resulting in an annualized interest rate

of at least 138.83%. Attached as Exhibit I hereto is a true and correct copy of the October MCA

Servicing Agreement.

               c.      The MCA Agreements are governed by New York law. See Exs. H and I,

§ 4.5.

         30.   Upon information and belief, NewCo Capital Groups VI LLC (“New Co”) is a New

York limited liability company, with an office in Monsey, NY. By agreement dated January 26,

2023 (the “NewCo Agreement”), NewCo agreed to provide Jambys with $100,000.00 in funding

in exchange for payments amounting to at least $142,000.00, resulting in an annualized interest

rate of at least 87.90%. Attached as Exhibit J hereto is a true and correct copy of the NewCo

Agreement. The NewCo Agreement is governed by New York law. See Ex. J, § 4.5.

         31.   Upon information and belief, Simmons Capital Partners (“Simmons”) is an entity

authorized to do business in New York, with an office at 1545 Route 202, Suite 203, Pomona NY

10970.

         32.   Also upon information and belief, Simmons, MCA Servicing, and NewCo are

either the same entity or corporate alter egos. Simmons brokered the MCA Agreements between

Jambys and United First, CloudFund, MCA Servicing, and NewCo. However, unlike the United

First, CloudFund, and MCA Servicing Agreements, which each bear the letterhead of each

respective MCA Lender, the NewCo Agreement suspiciously bears the letterhead of Simmons

throughout the form, and furthermore was structured with nearly identical format and wording to

the MCA Servicing Agreements.




                                               10
               Case 24-50065-KBO           Doc 1     Filed 05/09/24      Page 11 of 48




         33.     Upon information and belief, SellersFi is a Delaware corporation, with an office in

 Weston, Florida. By agreement dated January 17, 2024, (the “SellersFi Agreement”), SellersFi

 provided $250,000 in funding to Jambys in exchange for a Note executed by Jambys providing for

 21% interest per annum, to be repaid over thirty-six (36) bi-weekly terms. Attached as Exhibit K

 hereto is a true and correct copy of the SellersFi Agreement.


                                    FACTUAL BACKGROUND

 I.      The MCA Agreements

         A.      The Velocity Agreement

         34.     On or about August 9, 2023, Jambys signed the Velocity Agreement which is

entitled “Revenue Purchase Agreement.” Velocity’s signature, however, does not appear anywhere

in the Velocity Agreement. See generally Ex. C.

         35.     Pursuant to the Velocity Agreement, Velocity agreed to provide Jambys with

$95,000.00 in funds. Id. at p.1.

         36.     In exchange, Jambys purportedly agreed to sell to Velocity, a percentage of all of

Jambys’s “future accounts, contract rights and other entitlements arising from or relating to the

payment of monies from [Jambys’s] customer’s [sic] and/or other third party payors” until the

“Purchased Amount” identified in the Velocity Agreement is paid in full. Id. The Velocity

Agreement identifies the “Purchased Amount” as $134,900.00. Id. According to the Velocity

Agreement, the Purchased Amount would be debited by Velocity from Jambys’s designated bank

account in daily increments of $999 per business day. Id.

         37.     The Velocity Agreement expressly states that Jambys “is selling a portion of a

future revenue stream to [Velocity] at a discount, not borrowing money from [Velocity], therefore

there is no interest rate or repayment schedule . . . .” Despite this, it is clear the Velocity Agreement


                                                   11
               Case 24-50065-KBO          Doc 1     Filed 05/09/24      Page 12 of 48




is structured as a loan in that it provides Jambys with funding in exchange for payments resulting

in a repayment amount (i.e., principal plus interest), higher than the amount funded (i.e., principal).

Id.

        38.     The daily increments debited by Velocity are defined in the Velocity Agreement as

the daily “Remittance,” which the Velocity Agreement claims is a “good faith estimate” of 20% of

the “daily average revenues” of Jambys during the previous calendar month divided by the number

of business days in the calendar month. Id.

        39.     Although the Velocity Agreement claims that the daily Remittance is based on the

percentage of revenue collected by Jambys, the Remittance is completely disconnected from any

fluctuations in Jambys’s revenue. The Remittance amount is not altered simply because Jambys’s

revenue changes and is in fact completely up to Velocity’s sole discretion.

        40.     The Velocity Agreement purports to provide a mechanism for adjusting the

Remittance amount. See id. § 1.4. However, it is impossible to utilize it. For example, it only allows

reconciliation of the remittance if the request is made by Jambys specifically two weeks after the

Velocity provides the agreed-upon funding and only if the amount debited by Velocity was more

than 20% of Jambys’s total revenue since the date of the Velocity Agreement. Furthermore, no

adjustment is permitted if there is an Event of Default, which includes having insufficient funds in

the designated account, any interruptions to the daily debits, any changes with the bank or

designated account that Velocity considers adverse or unacceptable, and a slew of other items. Id.

In other words, if Jambys does not have enough funds in its account to cover the daily Remittance,

it is not permitted to seek an adjustment to that daily Remittance. Thus, the Velocity Agreement

renders it virtually impossible to obtain a change in the daily remittance even with an actual change




                                                  12
                Case 24-50065-KBO             Doc 1      Filed 05/09/24        Page 13 of 48




in revenue, despite being characterized as a “revenue purchase agreement.” In reality, the Velocity

Agreement is a usurious loan cloaked as a purchase of revenue.

        41.      The dollar amount of interest earned by Velocity pursuant to the Velocity

Agreement may be determined by calculating the difference between the “Purchased Amount” of

$134,900.00 to be paid back by Jambys and the “Purchase Price” of $95,000.00, which is the

amount funded by Velocity. That amount of interest is $39,900 over the Velocity Agreement term

of approximately 138 daily Remittances.

        42.      Utilizing the New York Attorney General’s interest calculation formula of

(A/P)/(T/M),4 the annual interest rate of the Velocity Agreement is at least 81.91%, more than

triple the maximum of 25% permitted by New York’s criminal usury statute.5

        43.      The Velocity Agreement is designed to ensure that Velocity will be repaid in full –

no matter what changes occur in Jambys’s revenue stream – by including personal guarantees

executed by the Jambys Officers. See Ex. C at p.6. The Velocity Agreement provides that upon any

Event of Default, Velocity may seek immediate payment of all amounts due by Jambys from the

Jambys Officers, including, but not limited to, all losses and damages incurred by Velocity in

enforcing the Velocity Agreement. Id. This includes all expenses and attorneys’ fees incurred by

Velocity resulting from any claims for monies allegedly owed it by Jambys. Id. § 3.4.

        44.      The Velocity Agreement also ensures that Velocity will be paid by purportedly

granting Velocity with a security interest, under the Uniform Commercial Code, in all of Jambys’s


4
 Here, “A” represents the amount of interest, “P” represents the principal amount (or “Purchased Amount” here),
“T” represents the number of days in the term, and “M” represents the number of business days in a year. See NYAG
Complaint ¶ 462; see also People v. Richmond Cap. Grp. LLC, 80 Misc.3d 1213(A), at *10, 195 N.Y.S.3d 637 (N.Y.
Sup. Ct. 2023) (adopting NYAG formula for purposes of calculating usurious interest rates from MCA lender
defendants). The New York Attorney General assumes 251 business days in a year under this analysis. Id.
5
 Moreover, as with all of the other MCA Agreements, when the interest rate is calculated using the amount received
by Jambys net of the various “fees” applied by each of the MCA lenders, the interest rate becomes even greater and
more usurious.

                                                       13
                  Case 24-50065-KBO       Doc 1    Filed 05/09/24    Page 14 of 48




assets, including, but not limited to, “all accounts, chatter, documents, equipment, general

intangibles, instruments and inventory,” “all proceeds,” “all funds at any time in [Jambys’ or

Jambys Officers’] accounts,” “present and future electronic check transactions,” and “any amount

which may be due to Velocity under the [Velocity Agreement].” Id. at p.5.

        45.       As noted above, Jambys, Inc. is a Delaware corporation. Under sections 9-301 and

9-307(e) of Delaware’s enacted Uniform Commercial Code, a creditor is required to file a UCC-1

financing statement in the company’s state of incorporation, which for Jambys, Inc. is Delaware.

See DEL. CODE. ANN. tit. 6, §§ 9-301; 9-307(e). Attached hereto as Exhibit L is a true and correct

copy of lien searches run through the Delaware Secretary of State on April 15, 2024. As shown

herein, Velocity did not file a UCC-1 financing statement and is thus unsecured. Rather, Velocity

filed a UCC-1 financing statement in Texas, which is wholly ineffective against the Debtors.

Attached hereto as Exhibit M is a true and correct copy of Velocity’s UCC-1 financing statement

filed in Texas.

        46.       Upon Jambys’s execution of the Velocity Agreement in August 2023, Velocity

provided Jambys with approximately $91,985.00 in funding (after accounting for fees) and began

debiting Jambys’s bank account at $999 per business day towards the $134,900.00 due to Velocity,

under the Velocity Agreement.

        47.       In early 2024, Jambys did not have sufficient funds in the designated account,

resulting in bounced debits. The parties thereafter negotiated a payment plan and Jambys began

making payments.

        48.       On March 7, 2024, Jambys informed Velocity that it would not make any additional

payments in light of the fact that Velocity Capital Group is named as a defendant in the New York




                                                  14
               Case 24-50065-KBO           Doc 1     Filed 05/09/24   Page 15 of 48




Attorney General’s Complaint and the Velocity Agreement is a usurious loan prohibited by New

York law.

        49.     On the same day, Velocity responded claiming that the “Velocity Capital Group”

identified in the New York Attorney General’s Complaint is a different entity and threatened legal

action. See NYAG Complaint ¶ 57 (naming “Velocity Capital Group” as a DBA entity name/alter

ego of World Global Capital LLC, a New York subsidiary of Yellowstone Capital LLC).

        50.     However, a New York Department of State corporate search reveals that no other

New York corporate entities exist under the name Velocity Capital Group other than Defendant

Velocity.

        51.     As of March 12, 2024, Jambys had paid approximately $120,930.00 to Velocity

under the Velocity Agreement.

        52.     On March 22, 2024, Velocity filed a Complaint (the “Velocity Action”) in the

Supreme Court of the State of New York, Kings County, against Jambys and the Jambys Officers,

seeking to recover $28,184.00 plus attorneys’ fees and expenses under the Velocity Agreement and

Guaranty. The deadline for the Jambys Officers to file an answer in the Velocity Action is May 13,

2024.

        53.     On April 22, 2024, Jambys received notice from Amazon.com’s counsel that there

was a hold on any disbursement of the funds contained in Jambys’s account as a result of, inter

alia, a purported UCC-1 lien asserted by Velocity. As noted above, the UCC-1 financing statement

was filed in Texas, and Velocity had no basis in fact or law to assert a lien on the Debtors’ assets

held by Amazon. On or around May 7, 2024, or one week after the Petition Date, Jambys was

able to secure a release of the hold on its Amazon account by demonstrating that Velocity had

failed to properly perfect its security interest.



                                                    15
               Case 24-50065-KBO          Doc 1     Filed 05/09/24    Page 16 of 48




        B.      The United First Agreement

        54.     On or about August 24, 2023, Jambys signed the United First Agreement which is

entitled “Purchase and Sale of Future Receipts Agreement.” United First’s signature, however,

does not appear anywhere in the United First Agreement. See generally Ex. D.

        55.     Pursuant to United First Agreement, United First agreed to provide Jambys with

$362,000.00 in funds. Id. at p.2.

        56.     In exchange, Jambys purportedly agreed to sell to United First, a percentage of all

of Jambys’s “future receipts,” defined to include “all payments made by cash, check, ACH or other

electronic transfer, credit card, debit card, bank card, charge card, . . . or other form of monetary

payment in the order course of [Jambys’s] business” until the “Purchased Amount of Future

Receipts” is paid in full. The United First Agreement – which is itself internally inconsistent –

identifies that amount as $506,438.00, $506,998.00, or $507.043.00, depending on where one looks

in the Agreement. See id. at Offer Summary; id. at p.2. Without making any concessions or

prejudice to its position, Jambys utilizes the lowest number, $506,438.00, for illustrative purposes

of the calculations herein only.

        57.     According to the United First Agreement, the Purchased Amount of Future

Receipts would be debited by United First from Jambys’s designated bank account in daily

increments of $2,779.00 per business day. Id. at p.2 and § 1.

        58.     The United First Agreement expressly states that Jambys “is selling a portion of a

future revenue stream to [United First] at a discount, not borrowing money from [United First].”

Id. § 3. Despite this, the United First Agreement acts as a loan in that it provides Jambys with

funding in exchange for payments resulting in a repayment amount (i.e., principal plus interest),

higher than the amount funded (i.e., principal).



                                                   16
               Case 24-50065-KBO          Doc 1    Filed 05/09/24     Page 17 of 48




        59.     The daily increments debited by United First are defined in the United First

Agreement as the “Periodic Amount,” which the United First Agreement claims is “intended to

represent” 11% of Jambys’s “actual Future Receipts.” Id. at p.2 and § 1.

        60.     Although the United First Agreement claims that the Periodic Amount is based on

the percentage of Jambys’s actual receipts, the Periodic Amount is completely disconnected from

any fluctuations in Jambys’s revenue. The Periodic Amount is not altered simply because Jambys’s

revenue changes and is in fact completely up to United First’s sole discretion.

        61.     The dollar amount of interest earned by United First pursuant to the United First

Agreement may be determined by calculating the difference between the “Purchased Amount of

Future Receipts” of $506,438.00 plus fees to be paid back by Jambys and the “Purchase Price” of

$362,000.00, which is the amount funded by United First. That amount of interest is $144,438.00,

over the loan term of approximately 182 daily Remittances.

        62.     Utilizing the New York Attorney General’s interest calculation formula of

(A/P)/(T/M), the annual interest rate of the United First Agreement is at least 55.11%, almost

double the maximum of 25% permitted by New York’s criminal usury statute.

        63.     The United First Agreement is designed to ensure that United First will be repaid

in full – no matter what changes occur in Jambys’s revenue stream – by including personal

guarantees executed by the Jambys Officers. Ex. D at p.3 and § 17. The United First Agreement

provides that upon any Event of Default, United First may seek immediate payment of all amounts

due by Jambys from both Jambys and the Jambys Officers, including, but not limited to, all of

United First’s costs in connection with Jambys’s default. Id. § 14. This includes all reasonable

expenses and attorneys’ fees. Id. § 14.




                                                  17
               Case 24-50065-KBO         Doc 1     Filed 05/09/24     Page 18 of 48




        64.     The United First Agreement also ensures that United First will be paid by

purportedly granting United First with a security interest, under the Uniform Commercial Code, in

all of “Future Receipts” in Jambys, as that term is defined in the United First Agreement. Id. § 12.

        65.     As noted above, Jambys, Inc. is a Delaware corporation. Under sections 9-301 and

9-307(e) of Delaware’s enacted Uniform Commercial Code, a creditor is required to file a UCC-1

financing statement in the company’s state of incorporation, which for Jambys, Inc. is Delaware.

See DEL. CODE. ANN. tit. 6, §§ 9-301; 9-307(e). See also Ex. L (showing no Delaware UCC-1 filings

by United First). As United First failed to file a UCC-1 financing statement in the correct

jurisdiction, it is thus unsecured. Upon information and belief, Velocity filed a UCC-1 financing

statement in New York, which is wholly ineffective against the Debtors.

        66.     Upon Jambys’s execution of the United First Agreement in August 2023, United

First began providing Jambys with funding in accordance with the United First Agreement, which

required that the funding be provided in seventeen (17) increments minus any fees. See id. at p.16.

United First also began debiting Jambys’s bank account at $2,779.00 per business day, as set forth

in the United First Agreement.

        67.     The United First Agreement was serviced by GFE.

        68.     In January 2024, Jambys did not have sufficient funds for the daily debits, and

certain debits were returned due to insufficient funds. Jambys informed GFE that it could no longer

make the payments, and they negotiated a payment schedule pursuant to which Jambys made some

delayed payments.

        69.     In mid-February 2024, additional debits were returned due to insufficient funds.




                                                 18
                Case 24-50065-KBO           Doc 1     Filed 05/09/24   Page 19 of 48




         70.     On March 7, 2024, GFE informed Jambys that it would be declaring a default and

referring the matter to their legal department, which would result in a lawsuit being filed against

Jambys. GFE also stated that it was in the process of filing a UCC lien against Jambys’s business.

         71.     On March 7, 2024, Jambys’s counsel responded that would not make any additional

payments in light of the fact that the United First Agreement is a usurious loan prohibited by New

York law and contain terms substantially similar to the fundings agreements being challenged by

the New York Attorney General. United First responded, disagreeing with Jambys’s position.

         72.     As of March 13, 2024, Jambys had paid approximately $273,228.00 to United First

under the United First Agreement. United First, however, stopped providing Jambys with funding

after the fourteenth (14) increment, despite the fact that the United First Agreement required United

First to make seventeen (17) payments. United First’s last funding payment to Jambys under the

United First Agreement was on November 21, 2023, amounting to approximately $315,223.90 in

total funding after accounting for fees.

         73.     On April 22, 2024, Jambys received notice from Amazon.com’s counsel that there

was a hold on any disbursement of the funds contained in Jambys’s account as a result of, inter

alia, a purported UCC-1 lien asserted by United First. As noted above, the UCC-1 financing

statement was filed in New York, and United First had no basis in fact or law to assert a lien on the

Debtors’ assets held by Amazon. On or around May 7, 2024, or one week after the Petition Date,

Jambys was able to secure a release of the hold on its Amazon account by demonstrating that United

First had failed to properly perfect its security interest.

         C.      The CloudFund Agreements

         74.     On or about January 27, 2023, Jambys signed the January CloudFund Agreement

 which is entitled “Future Receipts Sale and Purchase Agreement.” See generally Ex. E.



                                                    19
              Case 24-50065-KBO         Doc 1    Filed 05/09/24     Page 20 of 48




       75.     On or about July 6, 2023, Jambys signed the July CloudFund Agreement which is

entitled “Future Receipts Sale and Purchase Agreement.” See generally Ex. F.

       76.     On or about November 20, 2023, Jambys signed the November CloudFund

Agreement which is entitled “Future Receipts Sale and Purchase Agreement” See generally Ex.

G.

       77.     CloudFund’s signature, however, does not appear anywhere in the CloudFund

Agreements. See generally Exs. E, F, G.

       78.     CloudFund agreed to provide Jambys with $150,000.00 in funds pursuant to the

January CloudFund Agreement, $260,000.00 in funds pursuant to the July CloudFund Agreement,

and $360,000.00 in funds under November CloudFund Agreement. See Exs. E, F, G at p.1.

       79.     Each successive agreement was used to satisfy the immediately preceding loan, and

further imposed additional “due diligence”, “origination”, and “UCC” fees. Thus, of the

$150,000.00 to be provided by the January CloudFund Agreement, $7,576.00 was deducted to pay

for fees, leaving a net amount of only $142,424.00 to be provided. Ex. E at p.1.

       80.     Of the $260,000.00 to be provided under the July CloudFund Agreement,

$53,660.00 was used to pay off the remaining balance of the previous loan and $13,000.00 was

charged in new fees, leaving a net amount of only $193,340.00 to be provided. Ex. F at p.1.

       81.     Similarly, of the $360,000.00 to be provided under the November CloudFund

Agreement, $143,430.00 was used to satisfy the balance owed under the July CloudFund

Agreement and $14,400.00 was charged in new fees, leaving only a net amount of $202,170.00

actually funded under the November CloudFund Agreement. Ex. G at p.1.

       82.     Thus, CloudFund essentially consolidated the previous agreements into one

superseding agreement, resulting in a total “funding amount” or “Purchase Price” of $360,000.00



                                                20
              Case 24-50065-KBO         Doc 1    Filed 05/09/24     Page 21 of 48




under the November CloudFund Agreement. Id. However, though the total face value of the

CloudFund Agreements’ envisioned funding was $770,000.00, the amount actually provided to

the Debtors was only $537,934.00, after accounting for the double-dipped fees and previous

balance consolidations.

       83.     In exchange, Jambys purportedly agreed to sell to CloudFund, a percentage of all

of Jambys’s “future receipts,” defined to include “all of [Jambys’s] receipts for the sale of good

and services . . . which payments or deliveries of monies can be made in the form of cash, check,

credit, charge or debit card, Automated Clearing House (“ACH”) or other electronic transfer or

any form of monetary payment and/or pecuniary benefit received from [Jambys]” until the

“Purchased Amount” is paid in full. Exs. E, F, G §§ 1(c), 2, 3. The January CloudFund Agreement

identifies the ”Purchased Amount” as $224,850.00, the July CloudFund Agreement identifies the

“Purchased Amount” as $363,740.00, and the November CloudFund Agreement identifies the

“Purchased Amount” as $500,400.00. Id. at p.1.

       84.     According to the CloudFund Agreements, the Purchased Amount would be debited

by CloudFund from Jambys’s designated bank account in daily increments per business day. The

CloudFund Agreements refer to the daily debits as the “Remittance Amount.”

       85.     The January CloudFund Agreement states that the “Remittance Amount” is “a good

faith approximation of” 5% of Jambys’s “Future Receipts,” resulting in debits of $1,615.00 per

business day. Ex. E, p. 1 and § 1(i).

       86.     The July CloudFund Agreement states that the “Remittance Amount” is “a good

faith approximation of” 8% of Jambys’s “Future Receipts,” resulting in debits of $2,275.00 per

business day. Ex. F, p. 1 and § 1(i).




                                                21
              Case 24-50065-KBO             Doc 1    Filed 05/09/24   Page 22 of 48




       87.     The November CloudFund Agreement states that the “Remittance Amount” is “a

good faith approximation of” 13% of Jambys’s “Future Receipts,” resulting in debits of $3,800.00

per business day. Ex. G, p. 1 and § 1(i).

       88.     The CloudFund Agreements expressly state that Jambys “is selling a portion of a

future revenue stream to [CloudFund] at a discount, not borrowing money from [CloudFund].”

Exs. E, F, G § 14(a). Despite this, the CloudFund Agreements act as loans in that they provide

Jambys with funding in exchange for payments resulting in a repayment amount (i.e., principal

plus interest), higher than the amount funded (i.e., principal).

       89.     Although the CloudFund Agreements claim that the Remittance Amount is based

on the percentage of revenue collected by Jambys, the Remittance Amount is completely

disconnected from any fluctuations in Jambys’s revenue. The Remittance Amount is not altered

simply because Jambys’s revenue changes and is in fact completely up to CloudFund’s sole

discretion.

       90.     The CloudFund Agreements purport to provide a mechanism for adjusting the daily

Remittance Amount. See id. §§ 12, 13. However, it is impossible to utilize it because it only allows

adjustment if no Event of Default has occurred, which includes multiple rejected debits made on

the designated account, any changes to the account information, the violation of any provision at

all in the CloudFund Agreements, and a slew of other items. Id. §§ 12(a), 25. Similarly, the

CloudFund Agreements also purport to allow reconciliation of the Remittance Amount, but only

in the absence of a default. See id. §§ 10, 11. In other words, if Jambys does not have enough funds

in its account to cover the daily Remittance Amount, it is not permitted to seek an adjustment to

or reconciliation of the daily Remittance Amount. Thus, the CloudFund Agreements render it

virtually impossible to obtain a change in the daily remittance even with an actual change in



                                                    22
                Case 24-50065-KBO             Doc 1      Filed 05/09/24       Page 23 of 48




revenue, despite being characterized as a “future receipts sale and purchase agreement.” In reality,

the CloudFund Agreements are usurious loans cloaked as a purchase of revenue.

        91.      The dollar amount of interest earned by CloudFund pursuant to the CloudFund

Agreement may be determined by calculating the difference between the “Purchased Amount” and

the “Purchase Price” and then dividing that number by the Purchase Price.

        92.      Under the January CloudFund Agreement, the dollar amount of interest earned by

CloudFund in dollars is $74,850 ($224,850.00 minus $150,000.00) over the loan term of

approximately 139 daily Remittances.

        93.      Utilizing the New York Attorney General’s interest calculation formula of

(A/P)/(T/M), the annual interest rate of the January CloudFund Agreement is at least 89.96%. That

is more than triple the maximum of 25% permitted by New York’s criminal usury statute.

        94.      Under the July CloudFund Agreement, the dollar amount of interest earned by

CloudFund in dollars is $103,740.00 ($363,740.00 minus $260,000.00) over the loan term of

approximately 160 daily Remittances.

        95.      Utilizing the New York Attorney General’s interest calculation formula of

(A/P)/(T/M), the annual interest rate of the July CloudFund Agreement is at least 62.64%. That is

more than double the maximum of 25% permitted by New York’s criminal usury statute. 6

        96.      Under the November CloudFund Agreement, the dollar amount of interest earned

by CloudFund in dollars is $140,400.00 ($500,400.00 minus $360,000.00) over the loan term of

approximately 132 daily Remittances.




6
  When factoring in the additional “fees” for each CloudFund Agreement (which appear to be calculated as a set
percentage of the loan principal), the interest rate calculations grow even larger and more usurious. Moreover,
considering that each subsequent CloudFund Agreement consolidated the remaining unpaid principal of the preceding
loan, it is clear that CloudFund was doubledipping with these fee calculations.


                                                       23
               Case 24-50065-KBO         Doc 1    Filed 05/09/24     Page 24 of 48




        97.     Utilizing the New York Attorney General’s interest calculation formula of

(A/P)/(T/M), the annual interest rate of the November CloudFund Agreement is at least 74.34%.

That is nearly triple the maximum of 25% permitted by New York’s criminal usury statute.

        98.     The CloudFund Agreements are designed to ensure that CloudFund will be repaid

in full – no matter what changes occur in Jambys’s revenue – by purporting to include personal

guarantees executed by the Jambys Officers. See Exs. E, F, G § 20. The CloudFund Agreements

provide that upon any Event of Default, CloudFund may seek immediate payment of all amounts

due by Jambys from both Jambys and the Jambys Officers, including, but not limited to, all of

CloudFund’s costs in connection with Jambys’s default. This includes all reasonable expenses and

attorneys’ fees.

        99.     The CloudFund Agreements also ensure that CloudFund will be paid by

purportedly granting CloudFund with a security interest, under the Uniform Commercial Code, in

all of “Future Receipts” in Jambys, as that term is defined in the CloudFund Agreements. Id. § 20.

        100.    As noted above, Jambys, Inc. is a Delaware corporation. Under sections 9-301 and

9-307(e) of Delaware’s enacted Uniform Commercial Code, a creditor is required to file a UCC-1

financing statement in the company’s state of incorporation, which for Jambys, Inc. is Delaware.

See DEL. CODE. ANN. tit. 6, §§ 9-301; 9-307(e). See also Ex. L (showing no Delaware UCC-1 filings

by CloudFund). As CloudFund failed to file a UCC-1 financing statement in the correct jurisdiction,

it is thus unsecured. Upon information and belief, CloudFund filed a UCC-1 financing statement in

New York, which is wholly ineffective against the Debtors.

        101.    Upon Jambys’s execution of the January CloudFund Agreement, CloudFund

provided Jambys with $142,424.00 in additional funding and began debiting Jambys’s bank

account at $1,615.00 per business day, as set forth in the January CloudFund Agreement.



                                                 24
              Case 24-50065-KBO        Doc 1    Filed 05/09/24    Page 25 of 48




       102.   When Jambys required additional funding later in the year, CloudFund agreed to

consolidate the remaining balance under the July CloudFund Agreement.

       103.   Upon Jambys’s execution of the July CloudFund Agreement, CloudFund provided

Jambys with $193,340.00 in additional funding and began debiting Jambys’s bank account at

$2,275.00 per business day, as set forth in the July CloudFund Agreement.

       104.   When Jambys again required additional funding, CloudFund again agreed to

consolidate the remaining balance under the November CloudFund Agreement.

       105.   Upon Jambys’s execution of the November CloudFund Agreement, CloudFund

provided Jambys with $202,170.00 in additional funding and began debiting Jambys’s bank

account at $3,600.00 per business day, as set forth in the November CloudFund Agreement.

       106.   In early 2024, Jambys informed CloudFund that it did not have sufficient funds for

the daily debits, and CloudFund and Jambys negotiated a payment schedule that allowed for some

delayed payments. Jambys later missed additional payments due to a significant reduction in

revenue.

       107.   On March 19, 2024, Jambys received an email from CloudFund customer service,

informing Jambys that Delta Bridge will be servicing the November CloudFund Agreement going

forward. Prior to that, the loans had been serviced by Max Recovery Group.

       108.   Upon information and belief, Max Recovery Group is owned by the owner and co-

founder of Delta Bridge. Upon information and belief, CloudFund is the same entity as Delta

Bridge, which is a subject of the New York Attorney General’s investigation into similar funding

agreements and a defendant named in the NYAG Complaint alleging that these funding

agreements are usurious loans prohibited by New York law. See NYAG Complaint.




                                               25
              Case 24-50065-KBO          Doc 1    Filed 05/09/24     Page 26 of 48




       109.    On or around March 13, 2024, attorneys for CloudFund notified Amazon.com and

Stripe, Inc. that it had filed a UCC-1 financing statement with the Secretary of State with respect

to amounts owed by Jambys under the CloudFund Agreements. This was a problem for Jambys

because much of Jambys’s revenue comes from these entities. Jambys reached out to CloudFund

and agreed to make a payment.

       110.    On March 25, 2024, after receiving a payment, CloudFund’s counsel notified

Amazon.com and Stripe, Inc., that it could release all funds restrained by the lien.

       111.    Thereafter, CloudFund’s counsel demanded that Jambys sign an agreement, with a

new payment plan, indicating that Jambys would not contest the validity of the CloudFund

Agreements. Jambys did not sign the agreement.

       112.    On April 11, 2024, upon information and belief, CloudFund’s counsel again

notified Amazon.com and Stripe, Inc., that it had a lien on all funds payable to Jambys pursuant to

§ 9-406(a) of the Uniform Commercial Code.

       113.    On April 22, 2024, Jambys received notice from Amazon.com’s counsel that there

was a hold on any disbursement of the funds contained in Jambys’s account as a result of, inter

alia, a purported UCC-1 lien asserted by CloudFund. As noted above, the UCC-1 financing

statement was filed in New York, and CloudFund had no basis in fact or law to assert a lien on the

Debtors’ assets held by Amazon. On or around May 7, 2024, or one week after the Petition Date,

Jambys was able to secure a release of the hold on its Amazon account by demonstrating that

CloudFund had failed to properly perfect its security interest.




                                                 26
                Case 24-50065-KBO              Doc 1      Filed 05/09/24        Page 27 of 48




        114.     To date, Jambys’s records show it has paid approximately a total of $552,079.00 to

CloudFund, against CloudFund’s total “face value” initial funding of $770,000; total “actual

funding” 7 of $537,934.00; and a total repayment obligation 8 of $894,679.00.

        D.       The MCA Servicing Agreements

        115.     On or about August 24, 2023, Jambys signed the August MCA Servicing

Agreement which is entitled “Revenue Purchase Agreement.” See generally Ex. H.

        116.     Similarly, on or about October 5, 2023, Jambys signed the MCA Servicing

Agreement which is entitled “Revenue Purchase Agreement.” See generally Ex. I.

        117.     As detailed above, upon information and belief, MCA Servicing Company and

Simmons Capital Partners, which brokered the MCA Servicing Agreements, are either the same

entity or corporate alter egos.

        118.     Neither Simmons’s nor MCA Servicing’s signature, however, appear anywhere in

the MCA Servicing Agreements. See generally Exs. H and I.

        119.     MCA Servicing agreed to provide Jambys with $125,000.00 in funds pursuant to

the August MCA Servicing Agreement and $70,000.00 in funds pursuant to the October MCA

Servicing Agreement. Exs. H and I, at p.1.

        120.     In exchange, Jambys purportedly agreed to sell to MCA Servicing, a percentage of

all of Jambys’s “payments, receipts, settlements and funds paid to or received” by Jambys “in

payment or settlement of [Jambys’s] existing and future accounts, payment intangibles, credit,

debit and/or stored value card transactions, contract rights and other entitlements arising from or

relating to the payment of monies from [Jambys’s] customers and/or payors or obligors” until the


7
    Calculated as “Face Value”, net of lender fees and previously consolidated loan balances.
8
    Calculated as the total “Purchased Amounts” of the CloudFund Agreements, net of remaining balances from
    January and July CloudFund Agreements.

                                                        27
              Case 24-50065-KBO          Doc 1    Filed 05/09/24      Page 28 of 48




“Purchased Amount” identified in each of the MCA Servicing Agreements is paid in full. Id. The

August MCA Servicing Agreement identifies the “Purchased Amount” as $181,250.00 and the

October MCA Servicing Agreement identifies the “Purchased Amount” as $104,300.00. Id.

       121.    According to the MCA Servicing Agreements, the Purchased Amount would be

debited by MCA Servicing from Jambys’s designated account in daily increments per business

day and MCA Servicing may collect twice the amount on any date following a United States

banking holiday. Id. The daily increments debited by MCA Servicing are defined in the MCA

Servicing Agreement as the daily “Remittance,” which the MCA Servicing Agreements claim is a

“good faith estimate” of “MCA’s share of future revenue stream.” Id.

       122.    The Remittance under the August MCA Servicing Agreement is identified as

$1,813.00. Ex. H at p.1. The Remittance under the October MCA Servicing Agreement is

identified as $1,043.00. Ex. I at p.1.

       123.    The MCA Servicing Agreements expressly state that Jambys “is selling a portion

of a future revenue stream to MCA at a discount, and is not borrowing money from MCA, therefore

there is no interest rate or payment schedule and no time by which the Purchased Amount must be

collected by MCA.” Exs. H and I, at p.1. Despite this, the MCA Servicing Agreements behaved

as loans in that they provided Jambys with funding in exchange for payments resulting in a

repayment amount (i.e., principal plus interest), higher than the amount funded (i.e., principal).

       124.    Although the MCA Servicing Agreements claim that the daily Remittance is based

on Jambys’s future revenue stream, the Remittance is completely disconnected from any

fluctuations in Jambys’s revenue. The Remittance amount is not altered simply because Jambys’s

revenue changes and is in fact completely up to MCA Servicing’s sole discretion.




                                                 28
              Case 24-50065-KBO          Doc 1     Filed 05/09/24      Page 29 of 48




       125.    The MCA Servicing Agreements purport to provide a mechanism for adjusting the

amount of the Remittance. See id. §1.4. However, it is impossible to utilize it because it only allows

adjustment if no Event of Default has occurred, which includes not having sufficient funds in the

designated account, any notification by Jambys that it intends to breach the agreements by not

making the daily debits or otherwise, changes being made to the designated account’s login

information, the maintenance of other bank accounts without MCA Servicing’s consent, and a

slew of other items. Id. §§ 1.4, 3.1.

       126.    Similarly, the MCA Servicing Agreements also purport to allow for reconciliation

of the Remittance, but only in the absence of a default. Id. § 1.3. In other words, if Jambys does

not have enough funds in its account to cover the daily Remittance, it is not permitted to seek an

adjustment or reconciliation to the daily Remittance. Thus, the MCA Servicing Agreements render

it virtually impossible to obtain a change in the daily remittance even with an actual change in

revenue, despite being characterized as a “revenue purchase agreement.” In reality, the MCA

Servicing Agreement are usurious loans, cloaked as a purchase of revenue.

       127.    The dollar amount of interest earned by MCA Servicing pursuant to the MCA

Servicing Agreements may be determined by calculating the difference between the “Purchased

Amount” and the “Purchase Price” and then dividing that number by the “Purchase Price.”

       128.    Under the August MCA Servicing Agreement, the dollar amount of interest earned

by MCA Servicing in dollars is $56,250 ($181,250.00 minus $125,000.00) over the loan term of

approximately 100 daily Remittances.

       129.    Utilizing the New York Attorney General’s interest calculation formula of

(A/P)/(T/M), the annual interest rate of the August MCA Servicing Agreement is at least




                                                 29
                 Case 24-50065-KBO        Doc 1     Filed 05/09/24      Page 30 of 48




112.98%. That is more than four times the maximum of 25% permitted by New York’s criminal

usury statute.

        130.     Under the October MCA Servicing Agreement, the dollar amount of interest earned

by MCA Servicing in dollars is $34,300 ($104,300.00 minus $70,000) over the loan term of

approximately 107 daily Remittances.

        131.     Utilizing the New York Attorney General’s interest calculation formula of

(A/P)/(T/M), the annual interest rate of the October MCA Servicing Agreement is at least

138.83%. That is more than five times the maximum of 25% permitted by New York’s criminal

usury statute.

        132.     The MCA Servicing Agreements are designed to ensure that MCA Servicing will

be repaid in full – no matter what changes occur in Jambys’s revenue – by including personal

guarantees executed by the Jambys Officers. See Exs. H and I at p.6 and § 3.2. The MCA Servicing

Agreements provide that upon any Event of Default, MCA Servicing may seek immediate payment

of all amounts due by Jambys from the Jambys Officers, including, but not limited to, all losses

and damages incurred by MCA Servicing in enforcing the MCA Servicing Agreements. Id. This

includes all expenses and attorneys’ fees incurred by MCA Servicing in connection with the

enforcement of the MCA Servicing Agreements. Id.

        133.     The MCA Servicing Agreements also ensure that MCA Servicing will be paid by

purportedly granting MCA Servicing with a security interest, under the Uniform Commercial Code,

in all of Jambys’s assets, including, but not limited to, “all accounts, chatter, documents, equipment,

general intangibles, instruments and inventory,” “all proceeds,” “all funds at any time in [Jambys’

or Jambys Officers’] accounts,” “present and future electronic check transactions,” and “any

amount which may be due to MCA under the [MCA Servicing Agreements].” Id. at p.5.



                                                  30
               Case 24-50065-KBO         Doc 1    Filed 05/09/24     Page 31 of 48




        134.    Upon Jambys’s execution of the August and October MCA Servicing Agreements,

MCA Servicing provided Jambys with $117,450.00 and $62,950.00 in respective funding (after

accounting for fees) and began debiting Jambys’s bank account in accordance with the MCA

Servicing Agreements.

        135.    To date, Jambys’s records indicate it has paid a total of $275,203.00 toward the

MCA Servicing Agreements.

        136.    The MCA Servicing Agreements provided a total of $195,000.00 in face value

principal funding (i.e., before deduction of fees), and required a total repayment obligation of

$285,550.00.

        137.    On April 25, 2024, MCA Servicing filed a Complaint (the “MCA Servicing

Action”) in the Supreme Court of the State of New York, Kings County, against Jambys and the

Jambys Officers seeking to recover a total of $17,940.10 under the October MCA Servicing

Agreement and related Guaranty. According to MCA Servicing’s Complaint, there is a $10,927.00

receivable due under the October MCA Servicing Agreement, plus MCA Servicing is seeking

$735.00 in “NSF fees,” $3,000 in default fees, plus $3,278.10. in attorneys’ fees.

        138.    As of the date of filing, the MCA Servicing Action has not been served.

        E.      NewCo Agreement

        139.    Simmons, which brokered the United First Agreement, the CloudFund Agreements,

and the MCA Servicing Agreements, also brokered the NewCo Agreement entitled “Revenue

Purchase Agreement” dated January 26, 2023. See generally Ex. J.

        140.    While the lender identified in the NewCo Agreement is NewCo, the agreement is

emblazoned with the Simmons letterhead on every page. Id. This is in stark contrast to the other

MCA Agreements brokered by Simmons, which each utilized the letterheads of each respective



                                                 31
                Case 24-50065-KBO          Doc 1    Filed 05/09/24     Page 32 of 48




lender. Moreover, apart from the numbers of the actual principal funding amount and Purchased

Amount as well as the names/letterheads of the lenders, the NewCo Agreement is nearly identical

to the MCA Servicing Agreement in wording and substance.

         141.    Given the above facts, there is good reason to believe that at the very least, NewCo

and Simmons (including MCA Servicing)—if not also United First and CloudFund—are all shell

affiliates and/or aliases of each other.

         142.    Neither NewCo’s nor Simmons’s signature appears anywhere in the NewCo

 Agreement. See generally Ex. J.

         143.    NewCo agreed to provide Jambys with $100,000.00 in funds pursuant to the

 NewCo Agreement. Ex. J, at p.1.

         144.    In exchange, Jambys purportedly agreed to sell a percentage of all of Jambys’s

 “payments, receipts, settlements and funds paid to or received” by Jambys “in payment or

 settlement of [Jambys’s] existing and future accounts, payment intangibles, credit, debit and/or

 stored value card transactions, contract rights and other entitlements arising from or relating to the

 payment of monies from [Jambys’s] customers and/or payors or obligors” until the “Purchased

 Amount” of $142,000.00 was paid in full. Id.

         145.    According to the NewCo Agreement, the Purchased Amount would be debited by

 NewCo from Jambys’s designated account in daily increments per business day and NewCo may

 collect twice the amount on any date following a United States banking holiday. Id. The daily

 increments debited by NewCo are defined in the NewCo Agreement as the daily “Remittance,”

 which the NewCo Agreement claims is a “good faith estimate” of “NewCo’s share of future

 revenue stream.” Id.




                                                   32
               Case 24-50065-KBO          Doc 1     Filed 05/09/24      Page 33 of 48




        146.    The Remittance under the NewCo Agreement is identified as $1,184.00. Ex. J at

p.1.

        147.    The NewCo Agreement expressly states that Jambys “is selling a portion of a future

revenue stream to [NewCo] at a discount, and is not borrowing money from [NewCo], therefore

there is no interest rate or payment schedule and no time by which the Purchased Amount must be

collected by [NewCo].” Ex. J, at p.1. Despite this, the NewCo Agreement behaved as a loan in

that it provided Jambys with funding in exchange for payments resulting in a repayment amount

(i.e., principal plus interest), higher than the amount funded (i.e., principal).

        148.    Although the NewCo Agreement claims that the daily Remittance is based on

Jambys’s future revenue stream, the Remittance is completely disconnected from any fluctuations

in Jambys’s revenue. The Remittance amount is not altered simply because Jambys’s revenue

changes and is in fact completely up to NewCo’s sole discretion.

        149.    The NewCo Agreement purports to provide a mechanism for adjusting the amount

of the Remittance. See id. §1.4. However, it is impossible to utilize it because it only allows

adjustment if no Event of Default has occurred, which includes not having sufficient funds in the

designated account, any notification by Jambys that it intends to breach the agreements by not

making the daily debits or otherwise, changes being made to the designated account’s login

information, the maintenance of other bank accounts without NewCo’s consent, and a slew of

other items. Id. §§ 1.4, 3.1. Similarly, the NewCo Agreement also purports to allow for

reconciliation of the Remittance, but only in the absence of a default. Id. § 1.3. In other words, if

Jambys does not have enough funds in its account to cover the daily Remittance, it is not permitted

to seek an adjustment or reconciliation to the daily Remittance. Thus, the NewCo Agreement

renders it virtually impossible to obtain a change in the daily remittance even with an actual change



                                                  33
               Case 24-50065-KBO       Doc 1    Filed 05/09/24    Page 34 of 48




in revenue, despite being characterized as a “revenue purchase agreement.” In reality, the NewCo

Agreement is a usurious loan, cloaked as a purchase of revenue.

        150.   The dollar amount of interest earned by NewCo pursuant to the NewCo Agreement

may be determined by calculating the difference between the “Purchased Amount” and the

“Purchase Price” and then dividing that number by the “Purchase Price.”

        151.   Under the NewCo Agreement, the dollar amount of interest earned by MCA

Servicing in dollars is $42,000.00 ($142,000.00 minus $100,000.00) over the loan term of

approximately 120 daily Remittances.

        152.   Utilizing the New York Attorney General’s interest calculation formula of

(A/P)/(T/M), the annual interest rate of the NewCo Agreement is at least 87.90%. That is more

than three times the maximum of 25% permitted by New York’s criminal usury statute.

        153.   The NewCo Agreement was designed to ensure that NewCo would be repaid in full

– no matter what changes occur in Jambys’s revenue – by including personal guarantees executed

by the Jambys Officers. See Ex. J at p.6 and § 3.2. The NewCo Agreement provided that upon any

Event of Default, NewCo could seek immediate payment of all amounts due by Jambys from the

Jambys Officers, including, but not limited to, all losses and damages incurred by NewCo in

enforcing the NewCo Agreement. Id. This included all expenses and attorneys’ fees incurred by

NewCo in connection with the enforcement of the MCA Servicing Agreements. Id.

        154.   The NewCo Agreement also ensured that NewCo would be paid by purportedly

granting NewCo with a security interest, under the Uniform Commercial Code, in all of Jambys’s

assets, including, but not limited to, “all accounts, chatter, documents, equipment, general

intangibles, instruments and inventory,” “all proceeds,” “all funds at any time in [Jambys’ or




                                               34
                Case 24-50065-KBO           Doc 1    Filed 05/09/24   Page 35 of 48




Jambys Officers’] accounts,” “present and future electronic check transactions,” and “any amount

which may be due to NewCo under the [NewCo Agreement].” Id. at p.5.

         155.    Upon Jambys’s execution of the NewCo Agreement, NewCo provided Jambys with

$142,000.00 in funding (after accounting for fees) and began debiting Jambys’s bank account in

accordance with the NewCo Agreement.

         156.    On or about July 20, 2023, Jambys completed its payments under the NewCo

 Agreement.

         F.      SellersFi Agreement

         157.    On or about January 17, 2024, Jambys signed the SellersFi Agreement. Unlike the

MCA Agreements discussed above, the SellersFi Agreement is titled as a loan agreement. See

generally Ex. K.

         158.    Additionally, unlike the MCA Agreements, the SellersFi Agreement is

transparently structured as the provision of a principal loan of $250,000 in exchange for repayment

thereof over the course of thirty-six bi-weekly terms (approximately one-and-a-half years) with an

annual interest rate of 21%. Id. at p. 1.

         159.    Like the MCA Agreements, the SellersFi Agreement requires that the Jambys

Officers act as personal guarantors of Jambys’s liability under the agreement. Id. §§ 5.1 – 5.5.

         160.    The SellersFi Agreement also provides SellersFi with a security interest, under the

Uniform Commercial Code, in a laundry list of nearly all of Jambys’s assets, including but not

limited to its receivables, commercial papers, equipment, and inventory. Id. § 1.10.

         161.    SellersFi timely filed a UCC-1 financing statement in Delaware on January 22,

2024. See Ex. L.




                                                    35
                Case 24-50065-KBO        Doc 1     Filed 05/09/24     Page 36 of 48




         162.   To date, the Debtors’ records show they have repaid approximately $40,222.60

toward their obligations under the SellersFi Agreement.

II.      The MCA Agreements Are Usurious Loans

         163.   Despite the MCA Lenders’ attempts to characterize the MCA Agreements as

purchases of revenue or future receipts, the MCA Agreements are usurious loans prohibited by

New York law.

         164.   The MCA Lenders did not take on the benefits and risks of ownership under the

MCA Agreements, which occurs with any purchase. The MCA Agreements provide that a specific

sum will be paid to the MCA Lenders over time, irrespective of how Jambys’s business is

performing. As set forth below and in the accompanying Stay Extension Brief, the characteristics

of these “purchases” demonstrate that the MCA Agreements were not purchases or revenue at all,

but loans disguised as purchases in order to avoid New York’s prohibition on usurious interest

rates.

         165.   New York courts consider the following factors in determining whether a cash

advance or purchase of revenue is in fact a loan: (1) “the discretionary nature of the reconciliation

provisions”; (2) “allegations that defendants refused to permit reconciliation”; (3) “the selection

of daily payment rates that did not appear to represent a good faith estimate of receivables”; (4)

“provisions making rejection of an automated debit on two or three occasions without prior notice

an event of default entitling defendants to immediate repayment of the full uncollected purchase

amount;” and (5) “provisions authorizing defendants to collect on the personal guaranty in the

event of plaintiff’s inability to pay or bankruptcy.” Davis v. Richmond Cap. Grp., 194 A.D.3d

516, 517 (1st Dep’t 2021).




                                                 36
              Case 24-50065-KBO         Doc 1    Filed 05/09/24     Page 37 of 48




       166.    As described above, it was completely up to the the MCA Lenders’ sole discretion

whether to utilize the reconciliation and adjustment provisions in the MCA Agreements. In fact,

Jambys’s inability or failure to make certain payments disqualified Jambys from being able to

invoke those provisions.

       167.    The daily amounts debited from Jambys’s account were in no way tied to Jambys’s

actual revenue that the MCA Lenders were supposedly purchasing. Indeed, when Jambys began

having difficulty making its payments, not one of the MCA Lenders took steps to determine

Jambys’s actual revenue or adjust the payment amounts accordingly.

       168.    Although some of the MCA Lenders negotiated new payment schedules with

Jambys, those schedules were never tied to the actual revenue being earned by Jambys. Rather, the

schedules were aimed towards ensuring that the “purchased” amount was paid in full within a time

frame required by the MCA Lenders.

       169.    The MCA Agreements were subject to specified term lengths, that being the amount

of time that it would take to pay off the amounts “purchased” by Defendants based on the daily

debits. The length of the transactions did not vary based on fluctuations in Jambys’s revenue.

       170.    The MCA Agreements identified the failure to make the required payments as a

default, disqualifying Jambys from being able to seek reconciliation of or adjustments to the

payment amount,s and requiring the immediate repayment of the full amount.

       171.    Further, the MCA Agreements ensured that the MCA Lenders would be able to

recover the full amount due despite changes in Jambys’s revenue by requiring personal guarantees

of the Jambys Officers.

       172.    While the wording of the guarantees vary slightly, each of them require complete

and immediate payment of the full amount allegedly “purchased” by the the MCA Lenders,



                                                37
              Case 24-50065-KBO           Doc 1    Filed 05/09/24      Page 38 of 48




including any accrued fees, as well as attorneys’ fees and expenses incurred by the MCA Lenders

as a result of Jambys’s default. This is a quintessential feature of a loan and is in no way connected

to the amount of Jambys’s actual revenue.

       173.    The MCA Agreements provide exception to the MCA Lenders’ right to repayment

even in the event of Jambys’s insolvency or bankruptcy, further demonstrating that they are loans

and not purchases of revenue.

       174.    The MCA Agreements also purport to provide that the MCA Lenders with a

security interest under Article 9 of the Uniform Commercial Code. These secured interests ensure

that the MCA Lenders’ claims for payment receive priority in the event of a Jambys bankruptcy.

       175.    The interest rate of these loans far exceeds the maximum criminal rates permitted

under New York law. The loans are therefore illegal, criminally usurious, and void ab initio.

                                           COUNT ONE

               (Extension of the Automatic Stay to Enjoin The Loan Actions
            Against the Jambys Officers – Against All Defendants Except NewCo)

       176.    Jambys repeats and re-alleges the allegations contained in the preceding paragraphs

of this Complaint as if fully set forth herein.

       177.    Jambys seeks an injunction to stay all prosecution and/or enforcement of the Loan

Actions against the Jambys Officers under Sections 105(a) and 362(a) of the Bankruptcy Code

until its expiration under the terms of Debtors’ plan of reorganization.

       178.    Bankruptcy Code § 362(a)(1) stays the commencement or continuation of any

action or proceeding against a debtor. Although the stay applies to debtors, court may extend the

stay under Bankruptcy Code § 362 to non-debtors in order to uphold the integrity of the debtor’s

estate and provide the debtor with the full protections of the automatic stay. A bankruptcy court

may extend the automatic stay to a non-debtor if the debtor and non-debtor share an identity of

                                                  38
              Case 24-50065-KBO           Doc 1     Filed 05/09/24     Page 39 of 48




interest such that a suit against the non-debtor is essentially a suit against the debtor, or where the

action against the non-debtor will have an adverse impact on the debtor’s reorganization.

       179.     Under section 105(a), the Bankruptcy Court may “issue any order, process, or

judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].”

This Court may enjoin actions against third parties where necessary to preserve the Debtors’

restructuring efforts, including by fully effectuating the protections of the automatic stay under

section 362(a). Such relief is particularly appropriate here, where it is necessary to protect

Jambys’s ability to successfully navigate the restructuring process, and negotiating and confirming

a chapter 11 plan. The Court may, therefore, issue an injunction under section 105(a) to stay the

Loan Actions.

       180.     A stay extension is warranted under both of these standards, each of which

independently justifies the relief requested herein. As discussed in more detail in the Stay

Extension Brief filed contemporaneously herewith, absent an order enjoining the Loan Actions,

Jambys will suffer immediate and irreparable harm that will threaten the integrity of these

bankruptcy proceedings.

       181.     First, because the Loan Actions all involve substantially the same allegations and

issues pertaining to guarantees provided by the Jambys Officers, any judicial determination against

the Jambys Officers under such guarantees will raise significant collateral estoppel concerns and

potential evidentiary prejudice to the Debtors should the Debtors fail to participate in the MCA

Actions. Second, by way of Jambys’s corporate articles and bylaws, the Debtors and their estates

have indemnification obligations to the Defendants requiring Jambys to pay costs and expenses

incurred in connection with liabilities incurred by the Jambys Officers in their capacities as

directors, officers, or agents of Jambys. Third, if the MCA Actions are permitted to proceed, any



                                                  39
               Case 24-50065-KBO          Doc 1    Filed 05/09/24      Page 40 of 48




judgment against the Jambys Officers would require a finding that the MCA Agreements are

enforceable, which would effectively be a judgment that they are enforceable against the Debtors,

thus affecting the Debtors’ estates and threatening the recovery of creditors. Fourth, the threat that

an adverse judgment will subsequently be used against the Debtors will compel the Debtors to

participate in the Loan Actions in order to protect the Debtors’ interests, including by the efforts

necessary to prepare for and attend hearings, to assist in preparing pleadings and discovery

responses, to spend time preparing for and participating in depositions, and to help analyze and

develop legal defenses. Those efforts will distract the Debtors from the restructuring process and

require them to divert resources away from the effort to consummate a successful chapter 11 plan.

        182.   The balance of the harms and the public interest weighs in favor of enjoining all of

the Loan Actions. The Defendants will not be harmed by the requested injunctive relief.

                                           COUNT TWO

     (Declaratory Judgment That The MCA Agreements Are Criminally Usurious and
       Thus Void Under New York Penal Law § 190.40 – Against the MCA Lenders)

        183.   Jambys repeats and re-alleges the allegations contained in the preceding paragraphs

of this Complaint as if fully set forth herein.

        184.   A transaction cloaked as a purchase of future revenues or receipts may constitute a

usurious loan prohibited by New York law.

        185.   Despite their titles, the MCA Agreements do not constitute purchase agreements,

but rather, are loans obligating Jambys to repay funds provided by the MCA Lenders with accrued

interest.

        186.   The interest rates of the loans issued under the MCA Agreements far exceed 25%

per annum, which is the maximum interest rate permitted under New York criminal usury law.

The MCA Agreements, therefore, are illegal usurious loans prohibited by New York law.

                                                  40
              Case 24-50065-KBO           Doc 1      Filed 05/09/24   Page 41 of 48




       187.    By making such loans, the MCA Lenders intended to impose and collect interest in

excess of 25% of their respective loan principals.

       188.    Usurious loans are void and unenforceable under New York law, rendering both

the principal and interest uncollectible. Adar Bays, LLC v. Gene SYS ID, Inc., 37 N.Y.3d 320, 332-

33 (2021); see also N.Y. Penal Law § 190.40.

       189.    Despite this, the MCA Lenders have taken coercive actions seeking to enforce the

payment obligations allegedly imposed on Jambys pursuant to the MCA Agreements, including,

but not limited to, making demands for payments, filing suit against Jambys and the Jambys

Officers, and/or imposing liens on Jambys’s business accounts.

       190.    An actual and justiciable controversy therefore exists between Debtors and the

MCA Lenders about whether the MCA Agreements are enforceable purchase agreements or

usurious loans prohibited by New York law.

       191.    Accordingly, Jambys seeks and is entitled to a judgment declaring that the MCA

Agreements are usurious loans prohibited by New York law, directing the MCA Lenders to cease

all collection efforts under the MCA Agreements, and ordering the MCA Lenders to return to

Jambys all principal and interest payments made pursuant to the MCA Agreements.

                                          COUNT THREE

     (Declaratory Judgment That Any Liens Filed Pursuant To The MCA Agreements
               Are Void and Have No Priority – Against the MCA Lenders)

       192.    Jambys repeats and re-alleges the allegations contained in the preceding paragraphs

of this Complaint as if fully set forth herein.

       193.    The Court’s determination of the validity, priority, or extent of a creditor’s liens

asserted against property of the estate is a core proceeding under 11 U.S.C. § 157(b)(2)(k).




                                                  41
               Case 24-50065-KBO         Doc 1    Filed 05/09/24     Page 42 of 48




        194.    The Court may declare the rights of any interested party seeking the declaration,

and the declaration shall have the force and effect of a final judgment. 28 U.S.C. § 2201(a).

        195.    Pursuant to Rule 7001(2) of the Federal Rules of Bankruptcy Procedure, the Court

may entertain a declaration action to determine the validity, priority, or extent of a lien or other

interest in property of the estate.

        196.    Certain of the MCA Lenders have filed UCC-1 liens against Debtors arising from

Jambys’ failure to make certain payments under the MCA Agreements.

        197.    As demonstrated herein, the MCA Agreements are usurious loans, and therefore,

void and unenforceable under New York law.

        198.    Therefore, there is no debt upon which the UCC-1 security interest may attach.

        199.    Moreover, as discussed above, the MCA Actions taken in furtherance of the liens

filed by Velocity, United First, and CloudFund had no basis in law or fact. Nonetheless, those

MCA Lenders’ actions in asserting these baseless liens caused significant confusion to the

Debtors’ vendors and payment processing partners, which in turn caused prejudice to the Debtors

and their business, meaningfully interfered with the Debtors’ operations and ongoing restructuring

efforts, and significantly hastened the Debtors’ need to seek relief under chapter 11 sooner than

envisioned.

        200.    The declaratory judgment sought by Jambys is not duplicative of other matters to

be resolved as part of the claims in this action. Of necessity in fact is the Court’s resolution of

these issues at the outset of this action is necessary to the Court’s determination of the remaining

claims brought herein.

        201.    Accordingly, a judicial determination and declaration are therefore necessary to

declare that the MCA Lenders do not have a secured interest in any collateral.



                                                 42
              Case 24-50065-KBO           Doc 1    Filed 05/09/24     Page 43 of 48




                                          COUNT FOUR

                       (Constructive Fraudulent Transfers Pursuant to
                     11 U.S.C. § 548(a)(1)(B) – Against the MCA Lenders)

       202.    Jambys repeats and re-alleges the allegations contained in the preceding paragraphs

of this Complaint as if fully set forth herein.

       203.    A debtor may avoid any transfer of an interest of the debtor in property, or any

obligation incurred by the debtors, that was made or incurred on or within two years before the

petition date if the debtor received less than a reasonably equivalent value in exchange for such

transfer or obligation; and, inter alia, the debtor was insolvent on the date that such transfer was

made or such obligation was incurred, or became insolvent as a result of such transfer or obligation.

       204.    Jambys seeks to avoid the transfers made to the MCA Lenders within the last two

years (the “Fraudulent Transfers”) and to recover the value thereof from the MCA Lenders.

Attached hereto as Exhibit N is a list of the Debtors’ bank transactions with the MCA Lenders

during the two years prior to the Petition Date, which were pursuant to the MCA Agreements

attached as Exhibits C through K.

       205.    Each of the Fraudulent Transfers was a transfer within the meaning of 11 U.S.C. §

101(54).

       206.    Each of the Fraudulent Transfers was a transfer of property, or of an interest in

property, of the Debtors to and/or for the benefit of the MCA Lenderss.

       207.    Each of the Fraudulent Transfers was made at a time when the Debtors were

insolvent or were rendered insolvent by the transfer.

       208.    The Debtors did not receive a reasonably equivalent value in exchange for any of

the Fraudulent Transfers.

       209.    The MCA Lenders did not take the Fraudulent Transfers in good faith.

                                                  43
                Case 24-50065-KBO          Doc 1    Filed 05/09/24   Page 44 of 48




       210.     Accordingly, the Fraudulent Transfers are avoidable pursuant to 11 U.S.C. §

548(a)(1)(B).

                                           COUNT FIVE

      (Preferential Transfers Pursuant to 11 U.S.C. § 547(b) – Against MCA Lenders)

       211.     Jambys repeats and re-alleges the allegations contained in the preceding paragraphs

of this Complaint as if fully set forth herein.

       212.     Within ninety (90) days prior to the Petition Date, the Debtors made numerous

transfers to or for the benefit of the MCA Lenders (“Preferential Transfers”). Attached hereto as

Exhibit O is a list of the Debtors’ bank transactions with the MCA Lenders during the 90 days

prior to the Petition Date.

       213.     The Preferential Transfers were made by Debtors and constituted a transfer of an

interest in the property of the Debtors.

       214.     Defendants were creditors of the Debtors by virtue of the Loan Agreements

pursuant to which Debtors were required to make certain payments.

       215.     The Preferential Transfers were made to or for the benefit of a creditor within the

meaning of 11 U.S.C. § 547(b)(1) because the Preferential Transfers either reduced or fully

satisfied the debts owed by Debtors to the MCA Lenders.

       216.     The Preferential Transfers were made on or within 90 days before the Petition Date.

       217.     The Preferential Transfers were made while the Debtors were insolvent.

       218.     The Preferential Transfers were each made for, or on account of, an antecedent debt

or debts owed by the Debtors to the Defendants before such transfers were made, each of which

constituted a “debt” or “claim” (as those terms are defined in the Bankruptcy Code) prior to being

paid by Debtors.



                                                   44
              Case 24-50065-KBO           Doc 1    Filed 05/09/24     Page 45 of 48




       219.    As a result of the Preferential Transfers, the Defendants received more than they

would have received if: (i) the chapter 11 cases were under chapter 7 of the Bankruptcy Code; (ii)

the Preferential Transfers had not been made; and (iii) the Defendants received payment of such

debt to the extent provided by the provisions of the Bankruptcy Code.

       220.    Accordingly, the Preferential Transfers are avoidable pursuant to section 547(b) of

the Bankruptcy Code.

                                            COUNT SIX

                 (Recovery of Avoidable Transfers – Against All Defendants)

       221.    Jambys repeats and re-alleges the allegations contained in the preceding paragraphs

of this Complaint as if fully set forth herein.

       222.    The Debtors made the Fraudulent Transfers and the Preferential Transfers to or for

the benefit of the Defendants.

       223.    The Defendants are the initial transferees or the immediate, mediate or subsequent

transferees of the Fraudulent Transfers and Preferential Transfers.

       224.    The Debtors may recover, and intend to recover, the Fraudulent Transfers and the

Preferential Transfers and the benefits therefrom from any and all mediate, immediate, and

subsequent transferees.

                                          COUNT SEVEN

                       (Unjust Enrichment – Against the MCA Lenders)

       225.    Jambys repeats and re-alleges the allegations contained in the preceding paragraphs

of this Complaint as if fully set forth herein.

       226.    The Debtors provided the MCA Lenders with numerous payments pursuant to the

MCA Agreements, which are void ab initio as criminally usurious and against public policy.



                                                  45
              Case 24-50065-KBO          Doc 1    Filed 05/09/24     Page 46 of 48




       227.    As a result thereof, the MCA Lenders each realized a material benefit to the

detriment of the Debtors.

       228.    It would be against equity and good conscience to permit the MCA Lenders to

retain the benefit of the payments of the usurious loans.

       229.    Accordingly, the MCA Lenders have been unjustly enriched at the Debtors’

expense.



WHEREFORE, the Debtors pray the Court to enter an order:

       a.      Declaring that the automatic stay applies to the Loan Actions against the Jambys
               Officers and enjoining those Loan Actions against the Jambys Officers;

       b.      Declaring that the MCA Agreements are criminally usurious and void;

       c.      Directing the MCA Lenders to cease all collection efforts under the MCA
               Agreements;

       d.      Directing the MCA Lenders to return all payments made by Debtors to the MCA
               Lenders, including all payments towards principal, interest and fees;

       e.      Declaring that any liens filed pursuant to or in connection with the MCA
               Agreements are void and have no priority;

       f.      Avoiding and restoring all Fraudulent Transfers;

       g.      Avoiding and restoring all Preferential Transfers;

       h.      Directing the MCA Lenders to pay compensatory damages to the Debtors;

       i.      Awarding attorneys’ fees and costs; and

       j.      All other relief that this Court deems just and proper.




                                                 46
            Case 24-50065-KBO   Doc 1    Filed 05/09/24   Page 47 of 48




Dated:   May 9, 2024                PASHMAN STEIN WALDER
         Wilmington, Delaware       HAYDEN, P.C.

                                    /s/ Joseph C. Barsalona II
                                    Joseph C. Barsalona II (No. 6102)
                                    1007 North Orange Street 4th Floor #183
                                    Wilmington, DE 19801-1242
                                    Telephone: (302) 592-6496
                                    Email: jbarsalona@pashmanstein.com

                                    -and-

                                    Denise Alvarez (pro hac vice pending)
                                    Joshua P. Law (pro hac vice pending)
                                    Court Square
                                    21 Main Street, Suite 200
                                    Hackensack, New Jersey 07601
                                    Email: dalvarez@pashmanstein.com
                                           jlaw@pashmanstein.com

                                    Counsel to the Plaintiffs




                                        47
              Case 24-50065-KBO          Doc 1    Filed 05/09/24     Page 48 of 48




                                        VERIFICATION

I, John Tate Ambrose, certify that I am a duly authorized representative of the Plaintiffs. I have

read the foregoing Verified Complaint and can attest that the factual allegations contained in the

foregoing paragraphs are accurate to the best of my knowledge. I am informed and believe that

the foregoing information is true and accurate based upon my own knowledge and my review of

the business records maintained by the Plaintiffs in the regular course of their business, except as

to the matters therein stated to be alleged upon information and belief; and as to those matters I

believe them to be true.




 Dated:   May 9, 2024                          Jambys, Inc.; Jambys NYC, Inc.
          New York, NY


                                               /s/ John Ambrose
                                               John Ambrose
                                               President & Co-CEO




                                                 48
